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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division



                                                   )
    UNITED STATES OF AMERICA                       )
                                                   )
                     v.                            )         Criminal No. 1:18-cr-00083-TSE
                                                   )
    PAUL J. MANAFORT, JR.,                         )         Judge T. S. Ellis, III
                                                   )
                          Defendant.               )
                                                   )


              PAUL J. MANAFORT, JR.’S REPLY TO THE STATUS REPORT

         Paul J. Manafort, Jr., by and through counsel, files this reply to the Status Report filed by

the United States (Doc. 312). In reply, defendant respectfully asks the Court, when reviewing the

plea agreement breach and false statement litigation in the U.S. District Court for the District of

Columbia, to review the submissions of the parties, the hearing transcript, and the transcript of the

ruling in unredacted form. The information redacted from the public versions of these documents

is critical to the consideration of the issues raised during that litigation.

         Mr. Manafort further requests that the Court set a status conference to schedule a

sentencing date and dates for the filing of any pleadings relating to the sentencing.

Dated: February 15, 2019                        Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of February 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

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